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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


 M.D., b/n/f Sarah R. Stukenberg, et al., §
                                          §
                  Plaintiffs,             §
                   v.                     §
                                          §
                                                   Civil Action No. 2:11-CV-00084
 GREG ABBOTT, in his official capacity §
  as Governor of the State of Texas, et   §
                  al.,                    §
                                          §
                 Defendants.


                   Monitors’ Update to the Court Regarding HL

On February 22, 2024, a stakeholder alerted the Monitors that a six-year-old child (HL)
was without a licensed placement and living in a hotel in Austin. The stakeholder
indicated the child was on the autism spectrum and had significant behavioral challenges.
The Monitors reviewed information provided by DFPS regarding children without a
licensed placement and determined that HL was a PMC child who was placed in a CWOP
Setting on February 14, 2024.

   I.      HL’s History in Care

HL has been in care since 2019. According to her most recent Common Application, HL
was removed from her home after being exposed to her parent’s “ongoing violence.” HL’s
mother accused her father of rape, but later recanted and resumed her relationship with
him. HL’s Sexual Incident History page in IMPACT does not list any confirmed incidents
of sexual abuse, but notes the following in the “additional relevant information” section:

        On February 12, 2019, the Department received a referral alleging sexual
        abuse of [HL] by her father…The referral alleged that [HL’s mother] called
        law enforcement seeking assistance beause [HL’s father] raped her on
        February 11, 2019. [HL’s mother] subsequently recanted her rape allegation
        and went back to [HL’s father]. The allegation of sexual abuse of [HL] by
        [her father] was ruled out.

HL’s Common Application notes that while she does not have any confirmed incidents of
sexual victimization, “she demonstrated hypersexualized behaviors and discussions…in a
prior foster home, which included exploring her body and poor boundaries with the foster
placement.”
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  DFPS placed her in foster homes until May 18, 2023, when it appeared foster homes were
  unable to manage her behaviors (based on a preliminary review of her record).

  Since May 2023, the child has been placed in RTCs and most recently in a CWOP Setting.
  Her most recent RTC placement was at Helping Hand Home for Children RTC
  (5/26/2023 to 2/14/2024). State records indicate the RTC discharged the child due to her
  “behavior.” Shortly before her move, there was a request that the child’s level of care be
  increased to Intense Plus based upon the child’s behavior. The request stated:

           For reporting period 12/1/2023-01/29/2024, [HL] has had 157 serious
           incidents, 70 of them resulting in physical containments. Despite her age,
           physical containments require more than one staff member to keep [HL]
           and staff safe. [HL] has no boundaries and constantly breaks the rules, even
           after providing her redirection. When asked to stop, [HL] will argue or say
           no and will shut down. She will cry and scream, ignore her staff, and will
           stay crying for several hours. [HL] will kick, hit, and scratch anyone around
           her when upset. She is always testing boundaries, is overly emotional, not
           easy to please, loses control fast, and demands constant attention. She gets
           on top of peoples’ legs, grabs at their private parts and one time she showed
           her private parts to a peer. She must be in close sight, with some focused
           attention, at all times.

  A. Investigation History

  Since entering care in 2019, HL has been involved in four investigations of alleged abuse
  or neglect, as detailed below.


Case ID        Intake        Close      Allegation           Allegation Detail               Finding
                Date         Date          Type

49889267     11/18/2023     Remains       Physical    A staff member at Helping Hand       Pending
                             Open          Abuse      Home for Children, an RTC,
                                                      reported that HL (age 5) was
                                                      injured during a restraint. The
                                                      child was observed with a
                                                      “contusion or very deep bruise”
                                                      on her left wrist.

49750175     8/04/2023     10/24/2023    Neglectful   A staff member at Helping Hand       Ruled Out
                                        Supervision   Home for Children, an RTC,
                                                      reported that HL (age 5) hit         The
                                                      another child (age 11), who          investigator
                                                      responded by pushing HL. As a        found that
                                                      result, HL fell onto her back from   staff members
                                                      the push and hit her head on a       were present
                                                      plastic trash can. Staff members     at the time of
                                                      observed HL “having full body        the incident



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                                                   cringing” and took her to the         and
                                                   hospital. Medical personnel did       responded
                                                   not report concerns for the child’s   appropriately.
                                                   health. Child complained of head
                                                   pain.

49353705   10/06/2022   10/30/2022    Physical     An attorney reported that HL          Ruled Out
                                       Abuse       (age 4) stated that her foster
                                                   parent punched her in the face.       The
                                                   Child stated that she did not feel    investigator
                                                   safe. No visible injuries were        did not find
                                                   observed on the child.                evidence of
                                                                                         Physical
                                                                                         Abuse: the
                                                                                         child and
                                                                                         foster parent
                                                                                         denied the
                                                                                         allegation
                                                                                         when
                                                                                         interviewed.

48268715   6/26/2020    8/05/2020     Neglectful   Foster parents found HL (age 2)       Ruled Out
                                     Supervision   opened a child-proof bottle of
                                                   cough medicine and spilled it on      The
                                                   the floor and her clothes. Foster     investigator
                                                   parents did not know whether the      did not find
                                                   child had ingested any                that the foster
                                                   medication and took her to the        parents failed
                                                   Emergency Room. Medical               to adequately
                                                   personnel did not have concerns       supervise the
                                                   and later released the child.         child when
                                                                                         she may have
                                                                                         ingested
                                                                                         cough
                                                                                         medicine.
                                                                                         Medical
                                                                                         personnel did
                                                                                         not report any
                                                                                         concerns for
                                                                                         the child or
                                                                                         the foster
                                                                                         parents.


 B. Placement History
 While in DFPS care, HL has experienced at least 11 placements and two episodes of
 DFPS supervision in a CWOP Setting.

       Start Date       End Date                          Placement


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     02/14/2024                       DFPS Supervision, CWOP Setting

     05/26/2023       02/14/2024      Helping Hand Home for Children RTC

     05/19/2023       05/26/2023      New Horizons Audrey Grace House RTC

     05/18/2023       05/19/2023      DFPS Supervision, CWOP Setting

     10/12/2022       05/18/2023      Therapeutic Foster Home 2

     07/01/2022       10/12/2022      Therapeutic Foster Home 1

     09/24/2021       07/01/2022      Treatment Foster Home

     07/08/2021       09/24/2021      Foster Home 5

     06/02/2021       07/08/2021      Foster Home 4

     05/14/2021       06/02/2021      Foster Home 3

     12/08/2020       05/14/2021      Relative's Home

     04/23/2020       12/08/2020      Foster Home 2

     07/09/2019       04/23/2020      Foster Home 1



   II.    HL’s most recent placement in a CWOP Setting

On February 14, 2024, HL was moved from Helping Hand Home for Children RTC to a
hotel in Austin. HL’s departure from the RTC was not abrupt; after the operation put in
a 14-day discharge notice, they granted DFPS’s request for a two-day extension. DFPS
requested a second extension, which the operation denied.

Though she was moved to the hotel in the middle of the day on February 14, 2024, the
first shift logs provided by DFPS to the Monitors for HL do not begin until the midnight
to 4:00 a.m. shift on February 15, 2024.

HL’s shift log notes that the six-year-old child is “outgoing and playful.” She “enjoys
playing with dolls and kitchenette,” “likes to go outside and play and explore…play dress
up” and “likes to color and do arts and crafts.” HL, like many six-year-olds, “sometimes
needs assistance with dressing, she will wear clothes backwards if not guided.” She also
needs assistance bathing because, if she is not given guidance, “she will not scrub and only
play.”

HL’s shift log notes that she “needs constant supervision” and that when she is upset, HL
“will poop or pee herself.” She also needs assistance with hygiene when she goes to the
bathroom. This presented problems early in the child’s stay in the CWOP Setting: notes
state, “Caseworker…noted concerns as there appears to be two male workers assigned and


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neither male will be touching [HL]. Caseworker…deferred these concerns to the on-call
Supervisor.”

On February 16, 2024, the following note was added to HL’s shift log and highlighted:

       [HL] has severe behavioral issues and is diagnosed with Autism. [HL]
       needs a structured routine and needs attention. [HL] is verbal and
       communicate[s] needs and wants effectively. [HL] will throw tantrums if
       she can’t get what she wants immediately or if she is told no. The key is to
       stay firm and say no or give an alternative choice. She will cry and throw a
       tantrum, but sometimes you will let her cry. When [HL] is upset sometimes,
       she will intentionally urinate on herself or poop herself. [HL] can become
       physically and verbally aggressive. When [HL] is upset, try to distract her
       with activities such as arts and crafts or play a game with her. [HL] likes
       pouring water into a [bowl]. [HL] will constantly tell that she is hungry even
       when already ate. [HL] uses food for comfort.

The shift log also cautions, “BOTH STAFF SHOULD BE WITH [HL] AT ALL TIMES
UNLESS SHE IS SLEEPING. She will attempt to open the door and leave the room, staff
should not allow her to leave the room.”

HL is not attending school, according to her shift log. Helping Hand Home for Children
RTC has its own on-campus charter school; state records appear to show the child has not
been enrolled in school since leaving the RTC. HL’s time in the hotel is spent watching
movies, cartoons, music videos, and YouTube. She also dances and plays with her doll.
Because she has a tendency to run from staff, her caseworker has cautioned that she
cannot be taken to the store or on outings without calling the caseworker first to check in.

On her first day in the CWOP Setting, staff took her to a park to play, but HL appeared
disinterested, and asked to leave. As they were leaving the park, she asked one of the staff
to pick her up and carry her. The staff person declined, and HL walked to the car. A
contact note entered in IMPACT by a caseworker on February 15, 2024, states:

       I met with [HL] at her CWOP location in South Austin. When I initially
       arrived. She was on an outing to the park with the CWOP staff. They arrived
       back at the hotel about 30 minutes after I arrived. My first sight of [HL],
       she presented to be drowsy or sleepy. The staff reported that she had just
       taken her medication prior to them leaving and she told them she was tired
       when they were out, so they brought her back to the room to rest.

       ***

       I called and spoke with [HL’s] worker while I was there to get some
       information on [HL] and her case. She reported that [HL] was diagnosed
       with autism in October 2023. She stated that [HL] does well [if] she has a
       visual of how much time she has before starting a task or moving to another
       task. We discussed her current medications. She stated that she also has


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         concerns about the amount of meds that [HL] is on. She stated that her
         understanding is that the doctors have not been able to come up with her
         “perfect cocktail” of medications to treat her. She stated that sometimes the
         placement would call to ask permission to administer medication because
         other meds were not working for her. We discussed some of the things that
         [HL] enjoys and uses as sensory activities. We also discussed school….She
         struggles in large groups or settings. The caseworker and I discussed that
         she will likely benefit from a placement that can provide one on one or small
         capacity settings.


HL’s shift logs indicate she is prescribed five psychotropic medications. HL’s medications
are documented as:

 Aripiprazole              5 mg                        6 AM                     Mood stabilizer
 Cetirizine                10 mg                       As needed                Allergies
 Clonidine                 .5 mg BID                   7 AM 12n                 Mood
 Clonidine                 .2 mg                       7 PM                     Mood
 Divalproex DR             250 mg                      7 AM, 7 PM               Mood/sleep
 Fluticasone HFA           44 mcg BID                  7 AM, 7 PM               Mood/sleep1
 Escitalopram Oxalate      5 mg                        6 AM                     Mood
 Ventolin HFA              90 MCG (inhaler)            As needed                Asthma

The staff who supervised HL in the hotel noted ongoing issues related to administration
and storage of her medications. On February 16, 2024, the notes for the 4:00 a.m. to 8:00
a.m. shift state, “At 6:11 a.m. – [caseworker] administered [HL] Aripiprazole 5 mg,
Clonidine HCL .2 mg, Divalproex Sodium DR 250 mg, Escitalopram 5 mg. The pill packs
have different medications listed for 6 am that do not match the chart above in the
channel. The pill packs have 4 medications in them highlighted for 6 am but the chart
shows 5 total medications in the AM.” Earlier that day (during the 12:00 a.m. to 4:00
a.m. shift), staff document “[HL] took her meds and these were being kept on top of the
fridge. There was no med box for [HL].”

Shift log notes for the next day, February 17, 2023, have the following note added in bold
red type at the top of the log:

         This is [name omitted], lead CWOP for Saturday. I am using [name
         omitted’s] computer to send this. We are giving [HL] her meds this evening
         but there are a lot of inconsistencies between what is written in the log and
         what the bottles of medication say. Also, I think that on the log, the meds
         and their reasons are not all lined up correctly. Tonight, she was given
         Clonidine half and Divalproex. She will be evaluated to determine if she
         needs her inhaler. Please review her meds on site and what is listed in the
         logs so that it is not confusing for staff.


1 This appears to have been mismarked early in the shift log notes.   This medication is typically used to
relieve allergies.


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On February 18, 2024, during the 8:00 a.m. to 12:00 p.m. shift, staff noted, “The staff let
incoming staff know that they were unable to find [HL’s] med box and was only able to
give her the half of Clonidine that was left on the table by the previous staff before the 4a
– 8a shift.” During the same shift, the staff noted, “[HL’s] meds could not be found, and
the keys were missing as well. [Caseworker] received a call from the lead and said the
meds were above the microwave or the fridge and [caseworker] was able to locate the
medications that were not in a med box, they are in a ziplock bag.”

Aside from going to the lobby to eat breakfast, HL does not appear to leave the hotel room.
On the second day at the hotel, HL asked to go to the park multiple times, but was told
she could not go. Notes indicate she “attempted to leave the room on multiple occasions,
while crying loudly.” Notes also indicate that when a staff person called HL’s caseworker
to ask if HL could be allowed to go outside, the caseworker responded that, “[I]t would
not be a good idea as she does not know how [HL] will act in public.”

Finally, on her third day in the hotel room (February 17, 2024), staff took HL on a 10-
minute walk “to the basketball court” when she tried to leave the room.2 This appears to
be HL’s last time outside the hotel, until shift log notes for the 4:00 p.m. to 8:00 p.m. shift
on February 20, 2024 indicated that “Staff was helping pack because [HL] was being
placed.” The notes indicate that staff helped “place the suitcases in the trunk and watched
[a caseworker] strap [HL] in her car seat.” Staff note that they waved goodbye to the child
at 4:15 p.m. Inexplicably, the shift log notes continue for the 4:00 to 8:00 p.m. shift but
indicate “Workers arrived on time. [HL] was not at home at the start of shift.” Notes for
the next shift (8:00 p.m. to 12:00 a.m.) simply note that HL watched a movie until 9:00
p.m., when she fell asleep on the couch. There is no explanation for the child’s return to
the CWOP Setting.3

Supervising a six-year-old child who has a history of recurrent trauma and is on the
autism spectrum is challenging even in a structured, home-like setting, with consistent,
well-trained caregivers. But, as the shift log notes show, the hotel room, staffed by a
constant rotation of caregivers is a restrictive and poor setting for a child with these high
needs, particularly given the lack of structure (and no school) and the assigned staff’s
inability to safely supervise the child outside of the hotel. The shift log notes on the staff’s
ongoing difficulty finding the child’s medications and inconsistencies between the
medication administration logs and the directions on the medication bottles raise serious
child safety issues.



2 A note was added to her shift logs on February 17, 2024, under the heading “Social Restrictions,” which

states:

         [HL] has severe behavioral issues and is diagnosed with Autism. I am ok with [HL] going
         to parks that are small and gated. [HL] has a tendency to run. [HL] cannot handle trips to
         stores such as the mall or Walmart. [HL] will have a tantrum and will run if you tell her,
         it’s time to go or she can’t have something.
3 HL’s IMPACT records do not show a placement move. However, it is possible that she was moved to a

different CWOP Setting. Shift log notes for February 21, 2024 seem to indicate she is in a home, rather than
a hotel. It is possible that she was moved to a different CWOP Setting.


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Shift log notes show that staff resorted to moving furniture in front of doors, the
refrigerator and drawers – all in an attempt to keep the child from engaging in behavior
that they had difficulty de-escalating or controlling. On February 18, 2024, during the
4:00 a.m. to 8:00 a.m. shift, a staff person sat on a stool in front of the door to the room
“to prevent [HL] from running out.” When the child began to throw things at the face of
one of the staff members, “everything was removed from the main area and the table staff
sat at was positioned in a way to prevent access to the fridge, cabinet and stove.” Staff
position the large table in front of the stove to prevent her from “turn[ing] the knobs on
for the burner.” Staff moved “all items including the suitcase of toys…behind the table
and out of reach” to prevent her from throwing things. HL then started to hit a staff
member in the face, so the staff “set her inside the spare room that has nothing in it, with
the door cracked and staff feet propped where we could see her sitting against the door in
plain sight and out of reach of any items.” This occurred during a shift (discussed above)
when the supervising staff could not find the child’s medications. The child eventually
calmed.

On February 19, 2024, during the 8:00 a.m. to 12:00 p.m. shift, staff noted that HL was
throwing the television remote. The staff person suggested, “She needs to be provided
with comfort toys and items that work for autism, like a weighted blanket, stuffed squishy
animals, fidget toys, etc.”

Finally, on February 21, 2024, HL became so dysregulated that her shift logs indicate the
staff who were supervising her “call[ed] 911 to get assistance to prevent [HL] from hurting
herself.” HL was throwing items, hitting, punching, and scratching staff, and started
hitting the windows and walls. The police arrived and left 25 minutes later. At 6:00 p.m.
that day, the shift log indicates that staff began to pack her belongings to prepare her for
a move to a different CWOP Setting. At 10:25 p.m., HL arrived at another hotel; DFPS
staff helped her into bed, and she fell asleep.




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